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UNITED STATES DISTRE COURT

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FOR THE WESTERN DISTRICE;SO_§EHBINI‘SSEE* 95 JUH _g m 2: m‘

P_ lam . YNTON, cLARENCE W. ,." ~,_ ex '»f;@\-‘O . _
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c~»l=*""g£n‘nnlr‘ ` J. WESTFALL, sHANNoN _&\,‘_"Df`@'€ TN, l‘*~‘ cLERK U.S. DISI CT.
\ND' NoNN, AARON scoT'r BERNARD, W.D. OF TN. MEMPH!S

ALAN F. BERNARD, LINDA R.
BERNARD, and DAVID ALLEN
BERNARD,

Plaintiffs,

Civil ACliOfl NO. 1-02-1 ll l-Ma/A
VS' - £>\)\Q m (OM
HOT.ION. GRANTED w

HEADWATERS, INC., f/k/a/ Covol
Technologies, Inc., and JAMES G.
DAVIDSON,

      

Defenda.nts D.H‘ll

 

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JOIN'I` STIPULATION AND REQUEST TO EXTEND THE MEDIATION
DEADLINE UNTIL JULY 1'7l 2005

On April 24, 2005, the Court issued an order requiring Court Annexed Mediation
(Docket Entry No. 354) (the “Mediation Order”). The Mediation Order states that the mediation
should be conducted prior to June 17, 2005 (“Mediation Deadline”). The three parties involved
in the above-captioned matter have consulted, have selected a private court-certified mediator,
Allen S. Blair (who plans to mediate this matter according to his normal fee schedule), and have
endeavored to schedule a mediation date prior to the Mediation Deadline but have been unable to
do so in light of conflicting schedules among the attorneys and their party representatives The
earliest date that the mediator, the parties, and the party representatives are available to mediate
is Wednesday, July 6, 2005. The parties therefore stipulate through the signatures of their
counsel and jointly request that the Court extend the Mediation Deadline 30 days, until July 17,
2005 to accommodate the parties’ schedules and to provide some additional flexibility in

scheduling the mediation should any complications arise.

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Dated: June 6, 2005.

For the Plaintit`fs, Philip E. Boynton, et al.:

By: l %lwv~e ~fp¢o»-’rm

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By: …mw

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F or the Defendant, Headwaters, Incorporated:

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Joseph Pl Admitted Pro Hac Vice)

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This notice confirms a copy of the document docketed as number 362 in
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US DISTRICT COURT

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